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         CONSENT TO SUE UNDER THE FLSA

I, Richard Franke, hereby consent to be a plaintiff in an action under the
Fair Labor Standards Act, 29 U.S.C. § 201 et seq., to secure any unpaid
wages, overtime pay, liquidated damages, attorneys’ fees, costs, service
awards, and other relief arising out of my employment at Bloomberg LP and
any other associated parties. I authorize Getman, Sweeney and Dunn, PLLC,
and any associated attorneys as well as any successors or assigns, to
represent me in such action.


       06/02/17
Dated: _____________            _________________________________
                                    Richard Franke
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